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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     ROBB CHEAL
6
7
8                                         UNITED STATES DISTRICT COURT
9                                         EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                       )   Case No. 2:12-cr-185 TLN
                                                     )
11                                Plaintiff,         )   STIPULATION AND ORDER TO CONTINUE
                                                     )   STATUS CONFERENCE TO JULY 30, 2015,
12          v.                                       )   AT 9:30 A.M.
                                                     )
13   ROBB CHEAL,                                     )   Date: May 7, 2015
     RYAN CHEAL,                                     )   Time: 9:30 a.m.
14   ROBERT CARRILLO,                                )   Judge: Hon. Troy L. Nunley
                                                     )
15                                Defendants.        )
                                                     )
16
17            The parties stipulate, through respective counsel, that the Court should continue the status
18   conference set for May 7, 2015, at 9:30 a.m., to July 30, 2015, at 9:30 a.m.
19            Defense counsel require the continuance to consult with their clients about discovery, and
20   to conduct investigation. Defense counsel also require further time to meet and consult with
21   each other. Finally, defense counsel require further time to meet and confer with their clients
22   regarding plea agreements that the government has proposed, and to propose counter offers to
23   the government. Additionally, counsel for Robb Cheal and Ryan Cheal each have unrelated trial
24   commitments in other courts in June, 2015.
25            Counsel and the defendants agree that the Court should exclude the time from today
26   through July 30, 2015, when it computes the time within which trial must commence under the
27   Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
28

      Stipulation and Order to Continue                  -1-                                  2:12-cr-185 TLN
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1             Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy
3    trial.

4    DATED: April 30, 2015
                                                   HEATHER E. WILLIAMS
5
                                                   Federal Defender
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7                                                  /s/ M.Petrik__________
                                                   MICHAEL PETRIK, Jr.
8                                                  Assistant Federal Defender
                                                   Attorneys for Robb Cheal
9
10
     DATED: April 30, 2015
11
                                                   /s/ M.Petrik for_______
12                                                 CHRIS COSCA
                                                   Attorney for Ryan Cheal
13
14
     DATED: April 30, 2015
15
                                                   /s/ M.Petrik for_______
16                                                 OLAF HEDBERG
                                                   Attorney for Robert Carrillo
17
18
     DATED: April 30, 2015                         BENJAMIN B. WAGNER
19                                                 United States Attorney

20                                                 /s/ M.Petrik for_______
                                                   JASON HITT
21
                                                   Assistant U.S. Attorney
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      Stipulation and Order to Continue              -2-                                    2:12-cr-185 TLN
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1                                                ORDER
2             The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendants in a speedy trial.
8             The Court orders the status conference rescheduled for July 30, 2015, at 9:30 a.m. The
9    Court orders the time from the date of the parties stipulation, up to and including July 30, 2015,
10   excluded from computation of time within which the trial of this case must commence under the
11   Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
12
     DATED: April 30, 2015
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15                                                      Troy L. Nunley
                                                        United States District Judge
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      Stipulation and Order to Continue               -3-                                     2:12-cr-185 TLN
